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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA :
                         :
           v.            :                            CRIMINAL NO. 16-428
                         :
DAVID T. SHULICK         :



            DEFENDANT’S REPLY IN SUPPORT OF DEFENSE EVIDENCE

       The government seeks to preclude the defendant from presenting evidence of his

“personal investments into a bank account owned by UEE.” This is nonsense. The UEE

account is the only account at issue in this trial – for both the tax and school fraud charges.

All loans went into this account; all payments from the school district went into this account; all

expenses at issue in this case – personal and business – came out of this account.

       The government has charged that the defendant committed tax fraud in the years 2009-

2011 by paying personal expenses out of the UEE account – the account into which the

personal loans were deposited. Therefore the defendant must be permitted to introduce

evidence of personal funds put into this account for the years 2009-2011.    That is directly

relevant to the tax fraud charges.

       It is also directly relevant to Counts One and Two. The government charges in the

Indictment that money from the school district was used to pay personal expenses and other

expenses not related to the Southwest School. The school district money went into the UEE

account. So did personal funds of Mr. Shulick. Expenses were paid from this account. It is

for the jury to decide whether the personal expenses came from school district money, or
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from personal loans in the account. The school district money was NOT kept in a separate

account.

       Mr. Shulick lent the UEE account thousands of dollars. He personally funded the

operation of Southwest School for six months before receiving the first PSD payment in January

2011. The money he put into the UEE account is an essential part of the narrative, and

goes not only to his intent, but demonstrates how he operated the Southwest School, as

required by the contract.

                                                   Respectfully submitted,




                                                   _____________________________
                                                   HOPE C. LEFEBER
                                                   Hope C. Lefeber, LLC
                                                   1500 JFK Boulevard, Suite 1205
                                                   Two Penn Center
                                                   Philadelphia, PA 19106
                                                   610.668.7927
                                                   hope@hopelefeber.com



                                                   ANN C. FLANNERY
                                                   Law Offices of Ann C. Flannery, LLC
                                                   1835 Market Street, Suite 2700
                                                   Philadelphia, PA 19103
                                                   215.636.9002
                                                   acf@annflannerylaw.com

                                                   Attorneys for David T. Shulick




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                               CERTIFICATE OF SERVICE

       I, Ann C. Flannery, counsel for defendant David Shulick, hereby certify that on this 13th

day of April 2018, I caused a true and correct copy of the foregoing DEFENDANT’S REPLY IN

SUPPORT OF DEFENSE EVIDENCE to be served by ECF upon all counsel of record,

including the following:

       Michael T. Donovan
       U.S. Attorney’s Office, Criminal Division
       615 Chestnut Street, Suite 1250
       Philadelphia, PA 19106-4476
       Michael.Donovan@usdoj.gov

       Christopher J. Mannion
       Assistant United States Attorney
       615 Chestnut Street, Suite 1250
       Philadelphia, PA 19106
       christopher.mannion@usdoj.gov



                                            /s/ _______________________
                                            ANN C. FLANNERY
                                            Law Offices of Ann C. Flannery
                                            1835 Market Street, Suite 2700
                                            Philadelphia, PA 19103
                                            215.636.9002
                                            acf@annflannerylaw.com
